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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 ----------------------------------------------------------------------X
 GLYNICE SIMMONS, individually and as Administratrix
 of the ESTATE OF DAINELL ERIK SIMMONS,
                                                                           THIRD AMENDED
                                             Plaintiffs,                   COMPLAINT

                  -against-                                                Jury Trial Demand

 COUNTY OF SUFFOLK; GEORGE OLIVA;                                          Docket No.:
 KAREN GRENIA; SUSAN CATALDO; SAL                                          14 CV 3884 (AMD) (ARL)
 YOVINO; JAMES POLTORAK; KEVIN
 WUESTENHOFF; JEFFREY PITKEWICS;
 STEVEN TURNER; RICHARD CIACCIO,
 JAMES SAMARTINO; DENISE FIERRO;
 FRANK LEOTTA, and POLICE OFFICERS
 “JOHN DOE” 1-10,

                                              Defendants.
 ----------------------------------------------------------------------X

         Plaintiff GLYNICE SIMMONS, AS ADMINISTRATRIX OF THE ESTATE OF

 DAINELL ERIK SIMMONS (“Plaintiff”), by and through her attorneys, the law offices of Brett

 H. Klein, Esq., PLLC and Cuti Hecker Wang LLP, as and for her Third Amended Complaint

 against Defendants, respectfully sets forth the following:


                                           NATURE OF ACTION


        1.        Plaintiff brings this action against Defendant COUNTY OF SUFFOLK, as well as

 against SUFFOLK COUNTY POLICE OFFICERS GEORGE OLIVA, KAREN GRENIA,

 SUSAN CATALDO, SAL YOVINO, JAMES POLTORAK, KEVIN WUESTENHOFF,

 JEFFREY PITKEWICS, STEVEN TURNER, RICHARD CIACCIO, JAMES SAMARTINO,

 DENISE FIERRO, and FRANK LEOTTA, for, inter alia, excessive force, wrongful death,

 assault, battery, disability discrimination, negligence, negligent training, hiring, retention and
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 supervision, personal injury, and other violations of Plaintiff’s civil rights pursuant to the Federal

 and New York State Constitutions and New York common law.

       2.       It is further alleged that the COUNTY OF SUFFOLK failed to adopt adequate

 policies and procedures (i) to safeguard persons with special needs including autism with whom

 police officers would likely come in contact and (ii) to safeguard against causing positional

 asphyxia when suspects are restrained in the prone position. As a result of the failure to adopt

 adequate policies as aforesaid, said Defendant failed to adequately train or supervise its officers

 in properly responding to incidents involving persons with special needs including autism and in

 restraining suspects in a manner that is not likely to cause death by positional asphyxia. The

 failure to adopt such policies and/or the inadequacy of the policies that were adopted was likely

 to result in constitutional deprivations. Moreover, the failure to adopt adequate policies, and to

 train or supervise its police officers adequately, evidenced the COUNTY OF SUFFOLK’s

 deliberate indifference to the constitutional rights of DAINELL ERIK SIMMONS (“Dainell”),

 and resulted in the deprivation of his rights and his wrongful death.

       3.       As a remedy for the constitutional violations alleged herein, Plaintiff seeks

 damages for, inter alia, severe emotional and psychological distress, fear of impending death,

 pre-death terror, pain and suffering, loss of enjoyment of life, and all other lawful wrongful death

 damages, all due to the actions and/or negligence of agents or employees of the COUNTY OF

 SUFFOLK.

       4.       Plaintiff seeks both compensatory and punitive damages, an award of costs,

 interest and attorney’s fees, injunctive and equitable relief and such other relief as this Court may

 deem just and equitable.
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                                          JURISDICTION

       5.        This action is brought pursuant to 42 U.S.C. §§ 1981, 1983 and 1988, and the

 Fourth and Fourteenth Amendments to the United States Constitution. Plaintiff asserts

 supplemental state law claims pursuant to state common law and the New York State

 Constitution.

       6.        Jurisdiction is found upon 28 U.S.C. §§1331, 1343 and 1367.

                                               VENUE

       7.        Venue is properly laid in the Eastern District of New York under 28 U.S.C. §

 1391(b), in that this is the District in which the claim arose.

                                              PARTIES

       8.        Dainell was an African American male, who was a resident at MARYHAVEN

 CENTER OF HOPE (“Maryhaven”). At the time he was subjected to the excessive force leading

 to his death that is complained of in this case, he was 29 years of age.

       9.        Defendant COUNTY OF SUFFOLK was, and still is, a corporation duly

 organized and existing under, and by virtue of, the laws of the State of New York, having its

 place of business within the Eastern District of New York, and included as its functions, the

 operation, management and finance of the Suffolk County Police Department.

      10.        The individually named Defendants, SUFFOLK COUNTY POLICE OFFICERS

 GEORGE OLIVA, KAREN GRENIA, SUSAN CATALDO, SAL YOVINO, JAMES

 POLTORAK, KEVIN WUESTENHOFF, JEFFREY PITKEWICS, STEVEN TURNER,

 RICHARD CIACCIO, JAMES SAMARTINO, DENISE FIERRO, and FRANK LEOTTA, were

 duly sworn police officers of said department and were acting under the supervision of said
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 department and according to their official duties. The above named defendants are collectively

 referred to as the “Individual Defendants.”

      11.       Defendant POLICE OFFICERS “JOHN DOE” 1-10 were, and upon information

 and belief, still are, employed by Defendant COUNTY OF SUFFOLK in the Suffolk County

 Police Department as Police Officers. They are being sued in their individual capacities.

      12.       That at all times hereinafter mentioned the Defendants, either personally or

 through their employees, were acting under color of state law and/or in purported compliance

 with the official rules, regulations, laws, statutes, customs, usages and/or practices of the State of

 New York and/or the COUNTY OF SUFFOLK.

      13.       Each and all of the acts of the defendants alleged herein were done by said

 defendants while acting within the scope of their employment by Defendant COUNTY OF

 SUFFOLK.

                                        NOTICE OF CLAIM

      14.       A Notice of Claim on behalf of Plaintiff and GLYNICE SIMMONS, individually,

 was timely served upon DEFENDANT COUNTY OF SUFFOLK on October 18, 2013 pursuant

 to the General Municipal Law. Defendant COUNTY OF SUFFOLK completed its General

 Municipal Law 50-h hearing of Plaintiff on February 4, 2014. More than 30 days have lapsed

 without the matter being resolved by Defendant COUNTY OF SUFFOLK. The Notice of claim

 provided detailed information regarding the actions that the officers took during the incident with

 Dainell at Maryhaven, the injuries and death that Dainell sustained, and was sufficient to put the

 officers and the COUNTY OF SUFFOLK on notice of the conduct that they were alleged to have

 engaged in.
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                                  FACTUAL BACKGROUND

      15.       At all times relevant herein, Dainell was a black-skinned African American male,

 born on April 28, 1984.

      16.       On or about July 24, 2013 the Dainell, was lawfully and properly present at the

 premises of MARYHAVEN.

      17.       On July 24, 2013, one or more members of the staff at Maryhaven made a 911

 call complaining about Dainell’s allegedly violent behavior.

      18.       Defendants OLIVA, GRENIA, and CATALDO responded to Maryhaven in

 response to this 911 call.

      19.       Defendants were aware that Dainell was autistic and non-verbal.

      20.       Defendants OLIVA, GRENIA, and/or CATALDO attempted to subdue and

 restrain Dainell by using a Taser conducted energy device. Upon information and belief,

 Defendants OLIVA, GRENIA, CATALDO and/or one or more of the Individual Defendants

 deployed their Tasers at Dainell numerous times. Upon information and belief, such force was

 not reasonably justified under the circumstances.

      21.       Defendants OLIVA, GRENIA, and/or CATALDO attempted to subdue and

 restrain Dainell by using pepper spray on him, even after he was front-handcuffed. Upon

 information and belief, such force was not reasonably justified under the circumstances.

      22.       Defendants OLIVA, GRENIA, and CATALDO tackled Dainell, at which time

 they re-handcuffed him such that he was rear-handcuffed.

      23.       Notwithstanding that Dainell was rear-handcuffed, Defendants OLIVA, GRENIA,

 and CATALDO sat on him and/or otherwise applied significant force to his torso while he was in
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 a prone position, notwithstanding the known and/or foreseeable risk that doing so would cause

 asphyxiation.

      24.        Defendants SAL YOVINO, JAMES POLTORAK, KEVIN WUESTENHOFF,

 JEFFREY PITKEWICS, STEVEN TURNER, RICHARD CIACCIO, JAMES SAMARTINO,

 DENISE FIERRO, and FRANK LEOTTA arrived at the scene and assisted Defendants OLIVA,

 GRENIA, and CATALDO in restraining Dainell.

      25.        Defendants YOVINO, POLTORAK, WUESTENHOFF, PITKEWICS, TURNER,

 CIACCIO, SAMARTINO, FIERRO, and LEOTTA assisted Defendants OLIVA, GRENIA, and

 CATALDO by putting Dainell’s legs in leg restraints.

      26.        Even after all four of Dainell’s limbs were in restraints, the Individual Defendants

 continued to apply excessive body weight on top of him and/or otherwise applied significant

 force to his torso while he was in a prone position, notwithstanding the known and/or foreseeable

 risk that doing so would cause asphyxiation.

      27.        The Individual Defendants continued to apply unnecessary weight on Dainell

 and/or otherwise applied significant force to his torso while he was in a prone position for

 several minutes, causing his death by asphyxiation.

       AS AND FOR A FIRST CAUSE OF ACTION PURSUANT TO 42 U.S.C. § 1983
                AGAINST ALL OF THE INDIVIDUAL DEFENDANTS

      28.        Plaintiff repeats, reiterates and realleges each and every allegation contained in

 the foregoing paragraphs with the same force and effect as if fully set forth herein.

      29.        Each and all of the acts of the Individual Defendants alleged herein were done by

 the Individual Defendants under the color and pretense of the statutes, ordinances, regulations,

 customs and usages of the State of New York, the COUNTY OF SUFFOLK and under the

 authority of their office as police officers of said State and County.
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      30.       That at all times herein after mentioned, the Individual Defendants were

 employed in their respective capacities by the Defendant COUNTY OF SUFFOLK and were

 acting under the color of their official capacity as State actors, and their acts were performed

 under the color of the policies, statutes, ordinances, rules and regulations of defendant COUNTY

 OF SUFFOLK.

      31.       The Individual Defendants used unreasonable and excessive force on Dainell,

 including unnecessarily deploying Taser devices at him, unnecessarily pepper spraying him, and

 ultimately causing his death by applying weight to his torso while he was rear-handcuffed, leg-

 cuffed, and in a prone position.

      32.       The Individual Defendants acted recklessly and with deliberate indifference to

 whether their actions would physically harm Dainell and cause his death.

      33.       The Individual Defendants embarked on a course of conduct that deprived Dainell

 of his rights under the United States Constitution, and otherwise under federal and state law.

      34.       The actions of the Individual Defendants, acting under color of state and local

 law, custom and usage, deprived Dainell of his rights, privileges and immunities under the laws

 and Constitution of the United States, and in particular, of his rights to due process, equal

 protection, and to be free from unreasonable searches or seizures under the First, Fourth, Fifth

 and Fourteenth Amendments.

      35.       Dainell was unlawfully subjected to excessive force and unreasonably and

 otherwise unjustifiably killed by the defendants.

      36.       The Individual Defendants, collectively and individually, while acting under color

 of state law, engaged in conduct that was deliberately indifferent to Dainell’s serious medical
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 needs and safety by disregarding an excessive risk to his health or safety, which is forbidden by

 the Constitution of the United States.

      37.       The Individual Defendants had an affirmative duty to intervene on behalf of

 Dainell, whose constitutional rights were being violated in their presence by other officers.

      38.       The Individual Defendants failed to intervene to prevent the unlawful conduct

 described herein.

      39.       As a result of the foregoing, Dainell was subjected to excessive force and

 deliberate indifference to his serious medical needs and safety.

      40.       The Individual Defendants with supervisory authority caused Dainell’s

 constitutional injury by being deliberately or consciously indifferent to the rights of others in

 failing to properly supervise and train his or her subordinate employees.

      41.       As a result of the aforementioned misconduct and abuse of authority detailed

 above, plaintiff sustained the damages hereinbefore alleged.

      42.       The Individual Defendants conspired together to violate Dainell’s rights, in that

 the individual officers acted in concert to unlawfully violate the Dainell’s rights.

      43.       The conduct and actions of the Individual Defendants, acting under color of law,

 were done intentionally, maliciously and/or with reckless disregard of the natural and probable

 consequences of their acts, was done without lawful justification and was designed to and did

 cause specific pain and suffering, mental anguish, extreme emotional distress, humiliation and

 physical injury, pain and suffering and wrongful death and embarrassment in violation of

 Dainell’s constitutional rights as guaranteed under the Fourth and Fourteenth Amendment in

 violation of 42 U.S.C. §1983.
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      44.       As a result of the aforesaid wrongful, reckless and intentional acts of the

 Individual Defendants, the plaintiff has been damaged in the sum of TWENTY MILLION

 ($20,000,000.00) DOLLARS and attorneys’ fees and costs in an amount to be ascertained at the

 conclusion of this litigation and punitive and exemplary damages in the amount of TEN

 MILLION ($10,000, 000.00), DOLLARS as against the individual DEFENDANTS.

    AS AND FOR A SECOND CAUSE OF ACTION AGAINST ALL DEFENDANTS
  FOR VIOLATION OF THE AMERICANS WITH DISABILITIES ACT AND SECTION
                504 OF THE REHABILITATION ACT OF 1973

      45.       Plaintiff repeats, reiterates and realleges each and every allegation contained in

 the foregoing paragraphs with the same force and effect as if fully set forth herein.

      46.       Title II of the Americans with Disabilities Act (“ADA”) (42 U.S.C. § 12132)

 provides that “no qualified individual with a disability shall, by reason of such disability, be

 excluded from participation in or be denied the benefits of the services, programs, or activities of

 a public entity, or be subjected to discrimination by any such entity.”

      47.       The ADA requires only that a particular service provided to some not be denied to

 disabled people.

      48.       Section 504 of the Rehabilitation Act of 1973 (29 U.S.C. § 794(a)) similarly

 provides that “[n]o otherwise qualified individual with a disability in the United States ... shall,

 solely by reason of her or his disability, be excluded from the participation in, be denied the

 benefits of, or be subjected to discrimination under any program or activity receiving Federal

 financial assistance.”

      49.       Dainell was autistic and non-verbal and, as such, was a qualified individual with a

 disability.

      50.       Defendants were aware that Dainell was autistic and non-verbal.
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       51.        Defendants treated Dainell differently than they would have treated a similarly-

  situated non-disabled person.

       52.        Defendants excluded Dainell from participation in and/or denied him the benefits

  of services, programs, and/or activities by reason of his disability.

       53.        Defendants are public entities and/or officers.

       54.        Defendant COUNTY OF SUFFOLK receives federal financial assistance.

       55.        Defendants’ discriminatory treatment of Dainell based on his disability was the

  proximate cause of his severe injuries and death.

       56.        As a result of the aforesaid wrongful, reckless and intentional acts of the

  Defendants, Dainell’s estate was damaged in the amount of TWENTY MILLION

  ($20,000,000.00) DOLLARS and attorneys’ and fees and costs in an amount to be ascertained at

  the conclusion of this litigation.

       57.        Defendants’ extreme and outrageous conduct was the direct and proximate cause

  of severe and emotional distress to Dainell.

       58.        As a result of the aforesaid wrongful, reckless and intentional acts of the

  defendants, Dainell’s estate seeks punitive and exemplary damages in the amount of TEN

  MILLION ($10,000,000.00) DOLLARS.

                 AS AND FOR A THIRD CAUSE OF ACTION PURSUANT TO
                   42 U.S.C. § 1983 AGAINST THE COUNTY OF SUFFOLK
                          (Municipal Liability under 42 U.S.C. § 1983)

       59.        Plaintiff repeats, reiterates and realleges each and every allegation contained in

  the foregoing paragraphs with the same force and effect as if fully set forth herein.
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       60.        Defendants, collectively and individually, while acting under color of state law,

  engaged in conduct that constituted a custom, usage, practice, procedure or rule of the respective

  municipality/authority, which is forbidden by the Constitution of the United States.

       61.        The aforementioned customs, policies, usages, practices, procedures and rules of

  defendant COUNTY OF SUFFOLK, via the Suffolk County Police Department, included, but

  were not limited to, the use of deadly force against individuals when such force is not reasonable,

  the unreasonable use of Taser conducted energy devices and pepper spray, maintaining

  individuals in custody in a face down position and/or failing to adequately train and supervise in

  this regard, inadequate training with regard to use of force, and deliberate disregard for and/or

  lack of adequate training with regard to dealing with individuals in a state of distress and/or who

  are deemed to be emotionally disturbed persons, including the lack of an effective crisis

  intervention policy and/or training.

       62.        In addition, Defendant COUNTY OF SUFFOLK engaged in a policy, custom or

  practice of inadequate screening, hiring, retaining, training, and supervising its employees that

  was the moving force behind the violation of the Plaintiff’s rights as described herein. As a

  result of the failure of Defendant COUNTY OF SUFFOLK to properly recruit, screen, train,

  discipline, and supervise its officers, including the Individual Defendants, Defendant COUNTY

  OF SUFFOLK has tacitly authorized, ratified, and has been deliberately indifferent to, the acts

  and conduct complained of herein.

       63.        The foregoing customs, policies, usages, practices, procedures and rules of

  Defendant COUNTY OF SUFFOLK constituted deliberate indifference to the safety, well being

  and constitutional rights of the Plaintiff.
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       64.        The foregoing customs, policies, usages, practices, procedures and rules of

  Defendant COUNTY OF SUFFOLK were the direct and proximate cause of the constitutional

  violations suffered by Plaintiff as alleged herein.

       65.        The foregoing customs, policies, usages, practices, procedures and rules of

  Defendant COUNTY OF SUFFOLK were the moving force behind the Constitutional violations

  suffered by Plaintiff as alleged herein.

       66.        As a result of the foregoing customs, policies, usages, practices, procedures and

  rules of Defendant COUNTY OF SUFFOLK, Plaintiff was subjected to excessive and otherwise

  unnecessary deadly force, to deliberate indifference to his serious medical needs and safety, to

  failure to intervene, and to supervisory liability, resulting in his wrongful, untimely and

  unnecessary death.

       67.        Defendants, collectively and individually, while acting under color of state law,

  were directly and actively involved in violating the Plaintiff’s constitutional rights.

       68.        All of the foregoing acts by defendants deprived Plaintiff of federally protected

  rights, including, but not limited to, the right:

                  To be free from the use of excessive force;

                  To be free from deliberate indifference to serious medical needs and/or safety;

                  To receive equal protection under law;

                  To be free from disability discrimination;

                  To be free from interference with familial relations;

                  To be free from supervisory liability; and

                  To be free from failure to intervene.
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       69.       As a result of the aforementioned misconduct and abuse of authority detailed

  above, Plaintiff sustained the damages hereinbefore alleged.

       70.       As a result of the aforesaid wrongful, reckless and intentional acts, the plaintiff

  has been damaged in the sum of TWENTY MILLION ($20,000,000.00) DOLLARS and

  attorneys’ fees and costs in an amount to be ascertained at the conclusion of this litigation and

  punitive and exemplary damages against Suffolk County in the amount of TEN MILLION

  ($10,000, 000.00), DOLLARS.

  AS AND FOR A FOURTH CAUSE OF ACTION AGAINST DEFENDANT COUNTY OF
   SUFFOLK FOR NEGLIGENCE, NEGLIGENT HIRING, NEGLIGENT TRAINING,
           NEGLIGENT SUPERVISION AND NEGLIGENT RETENTION

       71.       Plaintiff repeats, reiterates and realleges each and every allegation contained in

  the foregoing paragraphs with the same force and effect as if fully set forth herein.

       72.       At all times relevant hereto, Defendant COUNTY OF SUFFOLK had the duty to

  competently and sufficiently hire, train, retain and supervise within the Police Academy and at

  the Command, Precinct and Patrol levels, the Individual Defendants in the protection of the

  Constitutional rights of the plaintiff under the First, Fourth, Fifth, and Fourteenth Amendment to

  the United States Constitution.

       73.       Defendant COUNTY OF SUFFOLK exhibited a lack of that degree of due care

  which prudent and reasonable individuals would show in executing its duties.

       74.       Defendant COUNTY OF SUFFOLK, its agents, servants, and/or employees failed

  to hire, train, supervise, discipline or in any other way control the defendant officers in the

  exercise of their functions; that their failure to enforce the laws of the State of New York and the

  COUNTY OF SUFFOLK was and is carried out negligently, willfully, maliciously and with

  such reckless disregard for the consequences so as to display a conscious disregard for the
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  dangers of harm and injury to citizens of the State and COUNTY OF SUFFOLK, including the

  Plaintiff and its decedent herein.

       75.        In addition, Defendant COUNTY OF SUFFOLK had the duty to competently and

  sufficiently hire, train and retain within the Police Academy and at the Command, Precinct and

  Patrol levels, the Individual Defendants to conform their conduct to a standard, established by

  law, for the protection of citizens, such as plaintiff, against unreasonable risk of harm by

  conducting themselves in such a manner as not to intentionally, wantonly, and/or negligently

  inflict injuries and death to citizens such as Dainell herein.

       76.        Defendant COUNTY OF SUFFOLK failed to competently and sufficiently hire,

  train, supervise and retain the Individual Defendants to confirm and conduct themselves to a

  statute established by law for the protection of citizens, such as Dainell, against unreasonable

  risk of harm by conducting themselves in such a manner as not to intentionally, wantonly and/or

  negligently inflict injuries and death to citizens such as Dainell herein.

       77.        Defendants’ failure to train and supervise as described above amounted to

  deliberate indifference to the constitutional rights of persons such as Dainell.

       78.        Defendant County failed to implement and enforce appropriate supervision by and

  of its staff so as to prevent and remedy violations of citizens’ constitutional rights.

       79.        Defendant County failed to remedy the untrained unsupervised personnel and

  continued to retain them. As such, the defendants knew or should have known that the retention

  would result in violation of Plaintiff’s civil rights.

       80.        As a result of the aforesaid negligent acts of Defendant COUNTY OF SUFFOLK,

  the plaintiff has been damaged in the sum of TWENTY MILLION ($20,000,000.00) DOLLARS

  and attorneys’ fees and costs in an amount to be ascertained at the conclusion of this litigation
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  and punitive and exemplary damages in the amount of TEN MILLION ($10,000, 000.00),

  DOLLARS as against the COUNTY OF SUFFOLK.

                        AS AND FOR A FIFTH CAUSE OF ACTION
                      AGAINST ALL DEFENDANTS FOR NEGLIGENCE

       81.        Plaintiff repeats, reiterates and realleges each and every allegation contained in

  the foregoing paragraphs with the same force and effect as if fully set forth herein.

       82.        The Individual Defendants owed Dainell a duty of care.

       83.        The Individual Defendants acted negligently and grossly negligently.

       84.        The Individual Defendants’ negligence and gross negligence was the proximate

  cause of Dainell’s death.

       85.        Defendant County is liable for the Individual Defendants’ negligence and gross

  negligence under the doctrine of respondeat superior.

       86.        As a result of the aforesaid negligent acts of the Individual Defendants, the

  plaintiff has been damaged in the sum of TWENTY MILLION ($20,000,000.00) DOLLARS and

  attorneys’ fees and costs in an amount to be ascertained at the conclusion of this litigation and

  punitive and exemplary damages in the amount of TEN MILLION ($10,000, 000.00),

  DOLLARS as against the Individual Defendants.

        AS AND FOR A SIXTH CAUSE OF ACTION AGAINST ALL DEFENDANTS
                         FOR ASSAULT AND BATTERY

       87.        Plaintiff repeats, reiterates and realleges each and every allegation contained in

  the foregoing paragraphs with the same force and effect as if fully set forth herein.

       88.        On or about July 24, 2013 Plaintiff was assaulted and battered by the Individual

  Defendants, sustaining severe physical injury at the hands of the Individual Defendants resulting

  in his death.
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        89.      Defendants’ wrongful act of attacking, subduing, battering, and otherwise holding

  or pinning Dainell face down to the ground for an extended period of time while rear handcuffed

  and leg-cuffed, and of delaying treatment for Dainell’s serious injuries, caused Dainell’s

  untimely death.

        90.      Defendant COUNTY OF SUFFOLK is liable for the tortious acts and omissions

  of its employees under the doctrine of respondeat superior.

        91.      As a result of the aforementioned misconduct and abuse of authority detailed

  above, Plaintiff sustained the damages hereinbefore alleged.

        92.      As a result of the aforesaid wrongful, reckless and intentional acts of the

  Defendants, the Plaintiff was damaged in the amount of TWENTY MILLION ($20,000,000.00)

  DOLLARS and attorneys’ fees and costs in an amount to be ascertained at the conclusion of this

  litigation.

        93.      Defendants’ extreme and outrageous conduct was the direct and proximate cause

  of severe and emotional distress to Dainell.

        94.      As a result of the aforesaid wrongful, reckless and intentional acts of the

  defendants, Plaintiff seeks punitive and exemplary damages in the amount of TEN MILLION

  ($10,000,000.00) DOLLARS.

      AS AND FOR A SEVENTH CAUSE OF ACTION AGAINST ALL DEFENDANTS
          FOR WRONGFUL DEATH AND CONSCIOUS PAIN AND SUFFERING

        95.      Plaintiff repeats, reiterates and realleges each and every allegation contained in

  the foregoing paragraphs with the same force and effect as if fully set forth herein.

        96.      Defendants are liable for Dainell’s death.
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       97.        Dainell experienced severe conscious pain and suffering immediately prior to his

  death, which was caused by Defendants’ unconstitutional and otherwise unlawful acts and

  omissions.

       98.        As a direct and proximate result of Dainell’s conscious pain and suffering and

  death, Dainell’s estate has suffered damages in an amount to be determined at trial

       99.        The statutory distributees of Dainell’s estate sustained significant loss resulting

  from the loss of Dainell’s love, comfort, society, and attention.

      100.        As a result of the aforesaid wrongful, reckless and intentional acts of the

  Defendants, Dainell’s estate was damaged in the amount of TWENTY MILLION

  ($20,000,000.00) DOLLARS and attorneys’ fees and costs in an amount to be ascertained at the

  conclusion of this litigation.

      101.        Defendants’ extreme and outrageous conduct was the direct and proximate cause

  of severe and emotional distress to Dainell.

      102.        As a result of the aforesaid wrongful, reckless and intentional acts of the

  defendants, Dainell’s estate seeks punitive and exemplary damages in the amount of TEN

  MILLION ($10,000,000.00) DOLLARS

                                              JURY TRIAL

      103.        Plaintiff requests a jury trial on all questions of fact.
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